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 1   DAVID A. TORRES AND ASSOCIATES
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 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                      ) Case No.: 1:13-CR-00392-LJO-SKO
10   UNITED STATES OF AMERICA,                        )
                                                      )
11                   Plaintiff,                       ) DEFENDANTS REQUEST AND WAIVER
                                                      ) OF APPEARANCE
12           vs.                                      )
                                                      )
13   BALTAZAR GARCIA,                                 )
                                                      )
14                   Defendant                        )
15   Defendant, BALTAZAR GARCIA, hereby waives his appearance in person in open court upon
16   the Status Hearing set for Tuesday, January 19, 2015 in Courtroom 7 of the above entitled court.
17   Defendant hereby requests the court to proceed in his absence and agrees that his interest will be
18   deemed represented at said hearing by the presence of his attorney, DAVID A. TORRES.
19   Defendant further agrees to be present in person in court at all future hearing dates set by the
20   court including the dates for jury trial.
21

22   Date: 1/15/15                                                 /s/Baltazar Garcia ___
23
                                                                   BALTAZAR GARCIA

24   Date: 1/15/15                                                 /s/ David A. Torres_______
                                                                   DAVID A. TORRES
25                                                                 Attorney for Defendant




                                          Summary of Pleading - 1
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 1

 2                                              ORDER

 3          IT IS HEREBY ORDERED that defendant BALTAZAR GARCIA is excused from

 4   appearing at the hearing scheduled for Tuesday, January 20, 2015.

 5
     IT IS SO ORDERED.
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 7
        Dated:    January 15, 2015                             /s/ Sheila K. Oberto
                                                     UNITED STATES MAGISTRATE JUDGE
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                                      Summary of Pleading - 2
